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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                 :     No. 4:18-CV-00164
                                          :
                   Plaintiff,             :     (Judge Brann)
                                          :
      v.                                  :
                                          :
THE PENNSYLVANIA STATE                    :
UNIVERSITY,                               :
                                          :
                   Defendant.             :

                ORDER REFERRING CASE TO MEDIATION
                    AND APPOINTING MEDIATOR

                                 FEBRUARY 6, 2019

      In accordance with the Civil Justice Reform Act of 1990 Expense and Delay

Reduction Plan of the United States District Court for the Middle District of

Pennsylvania and in accordance with the rules governing mediation set forth in

Chapter VI of the Rules of the Middle District of Pennsylvania, IT IS HEREBY

ORDERED that:

      1. Referral to Mediation: This case shall be referred to the mediation
process in an attempt to achieve an equitable settlement of the issues. The
following individual is hereby appointed by the Court to serve as a mediator in this
action:

             Name of Mediator:         J. David Smith, Esquire
             Address:                  McCormick Law Firm
                                       835 West Fourth Street
                                       Williamsport, PA 17701
             Phone:                    570-326-5131
             Fax:                      570-601-0248
             Email:                    dsmith@mcclaw.com
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       2. Scheduling and Conduct of Mediation Conference(s): The mediation
conference(s) shall be scheduled and conducted in accordance with Rules 16.8.5
and 16.8.6 of the Middle District. The first such mediation session shall be held
within one-hundred twenty (120) days of the date of this order at a time, date, and
location to be set by the mediator.

      3. General Rules Governing the Mediation Conference: All counsel and
the mediator are to become familiar with Chapter VI, ALTERNATIVE DISPUTE
RESOLUTION, of the Local Rules for the U.S. District Court, Middle District of
Pennsylvania.

     4. Compensation of the Mediator: In accordance with Rule 16.8.3 of the
Middle District, the services of the mediator shall be provided pro bono.

      5. The Clerk of Court is directed to cause a copy of this Order to be served
upon all counsel of record in this matter and to the mediator and is further directed
to make the file in this case available to the mediator, at his convenience.

      No later than ten (10) days from the date of this Order, any party may file

and serve written objections to this Order. Any such objections shall also be

served upon the mediator. The absence of any such objection shall constitute

acknowledgment and consent to the terms of this Order.

                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge
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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                         :      No. 4:18-CV-00164
                                                  :
                       Plaintiff,                 :      (Judge Brann)
                                                  :
       v.                                         :
                                                  :
THE PENNSYLVANIA STATE                            :
UNIVERSITY,                                       :
                                                  :
                       Defendant.                 :

                                    MEDIATION REPORT 
 
       In accordance with the Court's mediation order, a mediation conference was held on
                  , and the results of that conference are indicated below:

        (a) The following individuals, parties, corporate representatives, and/or claims
professionals attended and participated in the mediation conference, and each possessed the
requisite settlement authority:

       _____ All individual parties and their counsel.

       _____ Designated corporate representatives.

       _____ Required claims professionals.

       _____ Other (Describe). __________________________________________________
       _______________________________________________________________________

       (b) The following individuals, parties, corporate representatives, and/or claims
professionals failed to appear and/or participate as ordered:
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________
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 (c) The outcome of the mediation conference was:

_____ The case has been completely settled. Counsel will promptly notify the court of
settlement by the filing of a settlement agreement signed by the parties and the mediator
within ten (10) days of this report.


_____ The case has been partially resolved. Counsel have been instructed to file with
the court, a joint stipulation regarding those claims which have been resolved within ten
(10) days of this report. The following issues remain for this court to resolve:
________________________________________________________
_______________________________________________________________________
_______________________________________________________________________


_____ The parties have reached an impasse.


Done this __________________ day of ____________, 2019.



       Signature of Mediator


       Name of Mediator

                                       Phone (___) _____ - ________
